      CASE 0:19-cv-01756-ECT          Doc. 325     Filed 10/31/22   Page 1 of 12




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA

Douglas A. Kelley, in his capacity as            Case No.: 0:19-cv-01756-WMW
the Trustee of the BMO Litigation
Trust,                                               Hon. Wilhelmina M. Wright

                         Plaintiff,
                                                 Memorandum in Opposition to BMO
vs.                                               Harris N.A.’s Renewed Rule 50(a)
                                                     Motion for Judgment as a
BMO Harris Bank N.A., as successor                         Matter of Law
to M&I Marshall and Ilsley Bank,

                         Defendant.
       CASE 0:19-cv-01756-ECT        Doc. 325    Filed 10/31/22   Page 2 of 12




                                    Introduction

      Plaintiff already responded to BMO’s original Motion for Judgment as a

matter of law (“JMOL”). In its Memorandum in Opposition to that JMOL, Dkt

313 (“Plaintiff’s Memo”), Plaintiff showed that there is a legally sufficient

evidentiary basis for its claims. BMO has now filed a “renewed” JMOL motion

and Memorandum, Dkt 321 (“BMO Memo”), but those papers do little more than

identify additional evidence that allegedly contradicts the evidence the Trustee

relied upon in Plaintiff’s Memo. This changes nothing, because the relevant

standards require the Court to assume that all conflicts in the evidence are

resolved in Plaintiff’s favor. The renewed Motion should be denied.

                                      Argument
I.    BMO cannot obtain JMOL by relying on evidence that allegedly
      contradicts the evidence recited in Plaintiff’s Memo or that merely
      presents a jury question.

      To defeat BMO’s motions, Plaintiff merely needs to establish that a

reasonable jury would have a legally sufficient evidentiary basis to find for it.

The Trustee recited that evidentiary basis in Plaintiff’s Memo. BMO cannot

question that basis by reciting proof that, in its view, establishes the opposite of

the proof set forth in Plaintiff’s Memo. When considering a JMOL, the Court

should resolve all contradictions in the evidence in Plaintiff’s the favor. The court

must assume “all conflicts were resolved in [plaintiff’s] favor, assum[e] all facts

[plaintiff’s] evidence tended prove, and giv[e] [plaintiff] the benefit of all


                                           1
       CASE 0:19-cv-01756-ECT       Doc. 325    Filed 10/31/22   Page 3 of 12




favorable inferences that reasonably may be drawn from the proven facts.”

Ogden v. Wax Works, Inc., 214 F.3d 999, 1002 (8th Cir. 2000).

      Below is a list of BMO’s newly cited evidence. Each piece of evidence is

followed by an explanation of how it is contradicted by the Plaintiff’s proof,

which proves that BMO’s newly cited evidence is nothing more than a legally

insufficient attempt to contradict Plaintiff’s evidence:

     M&I employees’ denials of knowledge and testimony allegedly refuting

the required state of mind for punitive damages (BMO Memo at 2, 4-5).

Contradicted by: Evidence of knowledge and state of mind relating to punitive

damages in §§ I(C)(1) and XI of Plantiff’s Memo.1

     Testimony that PCI did not get special treatment (BMO Memo at 3, 6).

Contradicted by: Evidence of atypical activity on p. 22-23 of Plaintiff’s Memo,

including the sham DACA.

     Testimony that no bank employee with knowledge would have tried to

establish a lending relationship with PCI, which M&I employees did try to do

(BMO Memo at 6). Contradicted by: Evidence that Flynn never tried to loan

money to PCI to fund the purchases of electronics on p. 11 of Plaintiff’s Memo.




1
 Plaintiff previously refuted BMO’s other rehashed arguments about punitive
damages in § XI of Plaintiff’s Memo.


                                          2
       CASE 0:19-cv-01756-ECT       Doc. 325    Filed 10/31/22   Page 4 of 12




     BMO had no financial incentive to aid PCI (BMO Memo at 6).

Contradicted by: Evidence of that PCI was an important, profitable client for the

bank, and that BMO’s employees were motivated to assist Petters to cross-sell

and obtain lucrative additional business from his related companies, as recited

on p. 32 of Plaintiff’s Memo. See also P-2 and P-26.

     PCI’s ability to use other banks (BMO Memo at 6). Contradicted by:

Evidence from Ms. Coleman that PCI searched ten years to find a “bank that PCI

could work with” (Tr. 2854:4-14.)

      BMO also points to testimony that PCI could tell “plausible lies” about

why payments in the Account came from Enchanted and Nationwide (BMO

Memo at 7). However, what is plausible is a quintessential jury question. Anchor

Wall Sys. v. Rockwood Retaining Walls, Inc., 610 F. Supp. 2d 998, 1006 n.2 (D. Minn.

2009) (plausibility was question for jury).

      Finally, BMO cites testimony from Coleman that she lied or would have

lied to M&I employees (BMO Memo at 2, 6-7.) A bank cannot justify turning a

blind eye on the theory that their customer would have lied. As plaintiff has

shown repeatedly, a bank’s responsibility is to ferret out fraud since “fraudsters

are not going to … tell them there’s a fraud going on.” (Tr. 2387:14-2388:5.)

II.   BMO’s argument under Fed. R. Evid. 608 is wrong.

      BMO presents a tortured argument that Plaintiff is judicially estopped



                                          3
       CASE 0:19-cv-01756-ECT       Doc. 325    Filed 10/31/22    Page 5 of 12




from contending Christopher Flynn acted dishonestly for purposes of MUFA

because Plaintiff successfully objected to BMO’s attempt to elicit rehabilitative

character evidence regarding Flynn. (BMO Memo at 3.) Even assuming judicial

estoppel could be triggered by a sustained objection at trial, that doctrine cannot

possibly apply here because Plaintiff’s arguments for excluding the character

evidence are not “clearly inconsistent” with the MUFA bad-faith claims. Smith v.

AS America, Inc., 829 F.3d 616, 624 (8th Cir. 2016) (“clearly convincing”

standard).2

      Counsel’s statements cannot be viewed in a vacuum, but through the

prism of Fed. R. Evid. 608(a)’s rule regarding character evidence, which was the

basis for the objection. “[A] useful test employed by the courts [for determining

application of Rule 608] is whether the questioning attacks the veracity of the

witness's account of the facts in the specific case before the court or attacks the

witness's veracity in general.” United States v. Martinez, 923 F.3d 806, 816 (10th

Cir. 2019). Plaintiff’s counsel’s argument was directed to that test, arguing that

the questions regarding editing the MiContacts document did not put at issue


2
  The Court must also consider whether judicial acceptance of an inconsistent
position in a later proceeding would create the perception that either the first or
the second court was misled and whether the party asserting inconsistent
positions would derive an unfair advantage or impose an unfair detriment on the
opposing party if not estopped. Id; New Hampshire v. Maine, 532 U.S. 742, 749
(2001).


                                          4
        CASE 0:19-cv-01756-ECT       Doc. 325    Filed 10/31/22    Page 6 of 12




Flynn’s honesty or character for truthfulness. (Tr. 2613:7-12.) Thus, counsel’s

comments could only be interpreted as making arguments about whether the

Plaintiff crossed the line for allowing truthful character testimony and not a

broad statement regarding Plaintiff’s MUFA claim or whether Flynn was

generally honest.

      Counsel’s comments could not possibly have been directed to whether

Plaintiff alleges that Flynn’s conduct satisfies the bad faith standard under

MUFA, since the right to present evidence of truthful character under Rule 608

does not depend on whether the underlying claim involves honesty or not. As

the Eighth Circuit has held, even the existence of an allegation of material

misrepresentations does not entitle the accused party to introduce rehabilitative

character evidence like that excluded in this case. Jackson v. Allstate Ins. Co., 785

F.3d 1193, 1203 (8th Cir. 2015).

      In sum, viewed in context of the Rule 608 standards, counsel could only

have been arguing that eliciting testimony about a specific act (editing a

document) was not the type of character attack that opens the door to evidence of

truthful character, and could not have been arguing more generally that Plaintiff

does not assert that Flynn acted in “bad faith” during the relevant time period (a

term that BMO equates with dishonesty). Given the allegations in this case, that

would be preposterous. Even if counsel, against all reason, made that assertion



                                           5
        CASE 0:19-cv-01756-ECT        Doc. 325    Filed 10/31/22    Page 7 of 12




(which he did not) there would be no reason to enter judgment because Plaintiff

is not required to prove dishonesty under MUFA. Under modern case law,

indifference can constitute bad faith under MUFA where the defendant

recklessly disregards or is purposely oblivious to known facts suggesting

impropriety. McCartney v. Richfield Bank & Trust Co., No. CX-00-1466, 2001 WL

436154, at *4 n.2 (Minn. Ct. App. May 1, 2001).

III.   BMO’s assertions regarding the Palm Beach DACA are incorrect.

       BMO asserts that the triggering events under the DACA, such as the

receipt of a transaction list for the Palm Beach DACA, never occurred and cites

additional evidence in support. Plaintiff admits that BMO never received the

transaction list, and in fact relies upon this fact as part of its assertions of willful

blindness/bad faith, so BMO’s evidence adds nothing. Moreover, BMO’s

assertion that there were “triggering events” for its duties is false. Plaintiff

already established that the DACA imposed general fiduciary duties with regard

to the funds in the account, and the Bankruptcy Court has so held. (Plaintiff’s

Memo, at 28.) Ms. Crain’s self-serving testimony, which contradicts the Court’s

conclusion and the DACA language itself, should be disregarded. Moreover,

Coleman’s speculative testimony about what she would have done if asked for a

transaction list (BMO Memo at 7) should not be credited and does not disprove

causation because BMO’s duties were not limited to the list.



                                            6
       CASE 0:19-cv-01756-ECT       Doc. 325   Filed 10/31/22   Page 8 of 12




IV.   BMO misstates the evidence regarding insolvency and investor losses.

      BMO repeatedly attempts to defeat Plaintiff’s claims by conflating PCI’s

insolvency with its inability to repay investors. (BMO Memo at 6, 8, 9.) The

testimony of both Jarek and Martens (Plaintiff’s expert) reveals the fallacy of

BMO’s argument. Jarek testified that PCI was insolvent—i.e., its liabilities

exceeded its assets—by at least 1996. (Tr. 3169:10-23.) He then equated

insolvency with an inability to repay investors, and applied the date of PCI’s

insolvency as the date PCI was unable to pay its debt. (Id.) Jarek’s leap from

insolvency to an inability to pay, however, is unsupported by the record: First,

insolvency, in the context of a Ponzi scheme, does not equal the inability to pay

investors. As Martens explained, an entity used as the vehicle for perpetrating a

Ponzi scheme with no other business purpose is insolvent by its very nature and

pays old investors with new investor money. (Tr. 2452:15-2453:10, 2476:3-2477:1.)

Thus, employing traditional business valuation concepts like insolvency to PCI is

of no value. (Tr. 2476:3-2477:1.) Second, despite claiming PCI could not repay

investors starting prior to 2002, Jarek conceded that, until the Ponzi scheme

imploded in 2008, PCI paid its lenders back (except for those who rolled their

loans). (Tr. 3239:11-3240:23; Tr. 3243:12-3244:4.) Martens confirmed that investors

with promissory notes with start dates prior to December 5, 2007 were repaid.




                                         7
        CASE 0:19-cv-01756-ECT     Doc. 325    Filed 10/31/22   Page 9 of 12




(Tr. 2453:11-21.)3

      Although entirely specious, Jarek’s conflation of insolvency with PCI’s

inability to repay debts figures prominently in several of BMO’s arguments.

First, BMO contends that there is no causation for Plaintiff’s aiding and abetting

claims because, by Jarek’s definition, PCI was unable to repay investors prior to

opening the PCI Account with M&I. (BMO Memo at 6.) As discussed above,

however, PCI was able to, and did in fact, repay creditors up until the Ponzi

scheme broke down in 2008. Thus, Jarek’s testimony does not establish the

absence of causation.4

      BMO also argues, for statute of limitations purposes, that the damages

occurred—and the claim accrued—from the time of PCI’s insolvency because

that was when, according to Jarek, PCI could not pay back investors. (BMO



3
  Even if Jarek’s opinion that PCI was unable to pay creditors starting prior to
2002 could be credited (it cannot), it would at most create conflicting expert
testimony, which should not be adjudicated on JMOL. See Adams v. Toyota Motor
Corp., 867 F.3d 903, 918 (8th Cir. 2017), as corrected (Aug. 14, 2017) (finding
“questions of conflicting [expert] evidence must be left for the jury’s
determination” and court should not re-weigh the evidence).
4
 BMO also attacks causation for Plaintiff’s breach of fiduciary claim, arguing PCI
owed billions prior to the execution of the DACAs in 2008 and Palm Beach was a
net winner over the final nine months of the Ponzi scheme. BMO Memo at 8. This
argument is erroneous because Jarek’s calculations of losses at each year’s end
deducted repayments for older investments from investors’ new investments.
(Tr. at 3253:9-3254:22, 3256:17-3257:1.) Even if this methodology were proper (it is
not), it would merely be another battle of the experts. See n.3 supra.


                                         8
       CASE 0:19-cv-01756-ECT      Doc. 325   Filed 10/31/22   Page 10 of 12




Memo at 7.) Again, this argument fails because even Jarek admits that investors

with notes with start dates prior to December 5, 2007 were repaid (unless they

agreed to extend their due dates, which would obviate the need to repay until

the new due date). There could have been no injury to PCI (and thus no accrual

of the claims) until those investors who were actually due funds couldn’t be

repaid, which did not occur until the post-December 5, 2007 notes came due.

      Finally, on the issue of compensatory damages, BMO cites Jarek’s

testimony that an unpaid loan on PCI’s books is not a measure of harm because

PCI still had use of the funds. (BMO Memo at 9.) Because the Court has ruled

that PCI’s inability to repay creditors is the proper measure of damages, this

testimony is irrelevant. (Daubert Order, ECF No. 214 at 45-55.)

V.    BMO relies upon the wrong damages theory

      BMO asserts various spurious damages-related arguments. For example,

BMO relies upon testimony by its expert that payments to insiders after February

2008 were $0. This is completely irrelevant to the damages measure approved by

the Court multiple times, and most recently in the Daubert Order, ECF No. 214.

BMO also contends that Mr. Marten’s testimony was somehow improper because

he did not explain why there is a causal connection between the damages he

calculated and how those losses arose from any BMO misconduct. He did not do

so because he wasn’t asked to; his testimony was limited to calculating the



                                         9
       CASE 0:19-cv-01756-ECT      Doc. 325   Filed 10/31/22   Page 11 of 12




damages in the manner prescribed in the Court’s order that sets forth the proper

measure of recovery. A damages expert need not opine on causation. “Proof of

causation often comes from fact witnesses, and it is appropriate for expert

witnesses to assume causation will be established and then proceed to calculate

the damages.” Gaedeke Holdings VII, Ltd v. Baker, No. CIV-11-649-M, 2015 WL

11570978, at *3 (W.D. Okla. Nov. 30, 2015). Here, the other testimony establishes

causation, including evidence that the FBI would have “shown up on the bank’s

doorstep” if it had not turned a blind eye and exposed the scheme, and the

evidence from other witnesses on how fast the government reacted when Ms.

Coleman exposed it. (Tr. 1853:15-1854:5; 2389:25-2390:9; 2785:2-4, 2813:14-24.)

VI.   Evidence regarding the contractual limitations period is irrelevant.

      Plaintiff has already established how the contractual limitations clauses are

void and unenforceable, and cannot bar the claims when properly construed.

(Plaintiff’s Memo, Section VI). Therefore, whether Ms. Coleman raised objections

about the transactions in the account (BMO Memo at 8) is irrelevant.

                                   Conclusion

      For the reasons set forth herein, BMO’s motion should be denied.




                                        10
     CASE 0:19-cv-01756-ECT   Doc. 325   Filed 10/31/22    Page 12 of 12




                                   Respectfully submitted,

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                                   11
